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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

State Automobile Mutual Insurance
Company
                                              Plaintiff,
v.                                                         Case No.: 1:21−cv−04500
                                                           Honorable Rebecca R. Pallmeyer
Wildberry Pancakes & Cafe III, Inc., et al.
                                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 15, 2021:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Motion to dismiss
[23] is granted. All pending deadlines, hearings and motions are terminated as moot. Civil
case terminated. (rbf, )




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